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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6

CIVIL MINUTES — GENERAL

 

 

 

Case No. 8:21-cv-01420-CJC-DFM Date November 30, 2021
Title United African-Asian Abilities Club et al v. Plaza Patria Court, LTD. et al.
PRESENT:

HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

Rolls Royce Paschal Not Reported
Deputy Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE OF
SETTLEMENT

The Court, having been notified by a Notice of Settlement [12] that the case settled
hereby orders this action dismissed with prejudice. The Court hereby orders all proceedings in
the case vacated and taken off calendar.

The Court retains jurisdiction for thirty (30) days to vacate this order and to reopen the
action upon showing of good cause that the settlement has not been completed.

 

Initials of Deputy Clerk = rrp

 

cc:

 

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